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                            EXHIBIT D
          Case
1/2/24, 6:39 PM 2:23-cv-05061-PA-SSC             Document 89-6WebVoyage
                                                                Filed Record
                                                                        01/22/24
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                                 Try the Copyright Public Records System (CPRS) pilot with enhanced
                                                     search features and filters.




  Public Catalog
  Copyright Catalog (1978 to present) at DC4
  Search Request: Left Anchored Title = onmysleeve
  Search Results: Displaying 2 of 2 entries




                                                               onmysleeve.

                Type of Work: Sound Recording and Music
  Registration Number / Date: SR0000984874 / 2023-10-07
                                Supplement to: SR0000921043 / 2022
             Application Title: onmysleeve.
                         Title: onmysleeve.
         Copyright Claimant: Julius JanMichael Johnson. Address: 205 county road 433, englewood, Tennessee,
                                37329, United States.
             Date of Creation: 2011
          Date of Publication: 2011-09-23
   Nation of First Publication: United States
   Authorship on Application: Julius JanMichael Johnson; Citizenship: United States. Authorship: sound recording,
                                Composition/music.
  Supplement to Registration: SR0000921043, 2022.
    Amplifications Explained: Author/Applicant filed his SR application pro se and inadvertently omitted the
                                underlying composition/music from the basic registration application.
                                Author/Applicant is the author of the SR as well as the underlying composition, both
                                published at the same time. While Author/Applicant included a note to CO that
                                mentions that underlying composition contained therein, he mistakenly failed to add
                                the music in the "other" box of the authorship section. Accordingly,
                                Author/Applicant hereby amplifies the earlier registration to include the music
                                contained in the earlier registered sound recording and deposit copy.
      Rights and Permissions: Julius JanMichael Johnson, 205 county road 433, englewood, TN, 37329, United
                                States, (423) 368-7893, (423) 368-2598, middlecreekstudios@gmail.com
              Copyright Note: C.O. correspondence.
                                Regarding information on basic registration: The application for basic registration
                                number SR0000921043 was submitted by the author/claimant ? an individual named
                                Julius JanMichael Johnson ? with the following note to the Copyright Office: ?I can
                                not afford the current Expedited fee but I am working with lawyers to secure a
                                copyright of this song for an intellectual copyright infringement buy a popular music
                                                               D - 001
https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi?v1=2&ti=1,2&Search_Arg=onmysleeve&Search_Code=TALL&CNT=25&PID=3UVuphBqxcLOWPUlbipYOsqjW…   1/2
          Case
1/2/24, 6:39 PM 2:23-cv-05061-PA-SSC             Document 89-6WebVoyage
                                                                    Filed Record
                                                                           01/22/24
                                                                                 View 1 Page 3 of 3 Page ID #:1455

                                       production group. We believe "I Lied" - Niki Minaj The Pinkprint album carries the
                                       same exact composition, construction, melody and musical instruments were taken
                                       directly from my song. I am willing to wait the standard process time.? Had the
                                       Copyright Office recognized this note to indicate that the applicant wished to register
                                       the musical work in addition to the sound recording, the Office would have
                                       corresponded with the applicant and added the claim in the musical composition to
                                       the application. Musical works and sound recordings authored and owned by the
                                       same person may be registered together on one SR application. Compendium 1104;
                                       37 CFR 202.3(b)(iv)
                            Names: Johnson, Julius JanMichael




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                            Enter your email address:                                                    Email




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